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                           UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                            CRIMINAL MINUTE SHEET
USA v.       CHRISTOPHER ALLAN BODEN                                                    DISTRICT JUDGE:         Robert J. Jonker

    CASE NUMBER                       DATE                  TIME (begin/end)            PLACE                   INTERPRETER
    1:21-CR-40-01                    2/25/2022            3:02 - 4:49 p.m.           Grand Rapids




                                                               APPEARANCES
Government:                                              Defendant:                                       Counsel Designation:
Justin Matthew Present                                   Brian Patrick Lennon / Paul Beach                Retained

             TYPE OF HEARING                                   DOCUMENTS                                 CHANGE OF PLEA
    Arraignment:                                     Defendant's Rights                    Charging Document:
       mute             nolo contendre                                                         Read           Reading Waived
                                                     Waiver of Indictment
       not guilty       guilty                                                             Guilty Plea to Count(s)
                                                     Other:
    Final Pretrial Conference                                                              of the
    Detention        (waived     )
                                                                                           Count(s) to be dismissed at sentencing:
    Motion Hearing
    Revocation/SRV/PV                            Court to Issue:

    Bond Violation                                   Order of Detention                        Presentence Report Ordered
    Change of Plea                                   Notice of Sentencing                     Presentence Report Waived
                                                     Order Appointing Counsel                 Plea Accepted by the Court
✔   Sentencing
    Trial
                                                 ✔   Other:                                   Plea Taken under Advisement
                                                 Judgment
    Other:                                                                                     No Written Plea Agreement

                                                                SENTENCING

Imprisonment: 30 months                                                Plea Agreement Accepted:     ✔   Yes     No

Probation:                                                             Defendant informed of right to appeal:        Yes    No
Supervised Release: 3 years                                            Counsel informed of obligation to file appeal:      Yes     No

Fine: $ waived                                                         Conviction Information:
Restitution: $                                                             Date: 10/18/21
                                                                           By: Plea
Special Assessment: $ 300.00
                                                                           As to Count (s): 2, 16, 21

ADDITIONAL INFORMATION:
All remaining counts as to defendant dismissed on motion of the government.




                    CUSTODY/RELEASE STATUS                                               BOND AMOUNT AND TYPE

Self-Surrender as notified by US Marshal/BOP                              $

CASE TO BE:                                                            TYPE OF HEARING:

Reporter/Recorder:         Paul Brandell                               Case Manager:         S. Bourque
